Case 09-10138-MFW Doc 4042-1 Filed 09/29/10 Pageiof9

EXHIBIT A
Nortel Networks Inc, Bankruptcy Case No. 09-10138

Summary of Fees and Expenses for the Period
From May 1, 2010 through July 31, 2010, unless otherwise specified

Hearing: September 30, 2010 at 11:00 a.m. (Eastern Time)

Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”)

A. Sixth Interim Fee Application Request Of Akin Gump As Co-Counsel For The Official
Committee Of Unsecured Creditors For The Period May 1, 2010 Through July 31, 2010 (D.I.
3885, Filed 9/7/10).

1. Sixteenth Monthly Application Of Akin For The Period May 1, 2010 Through May
31, 2010 (D.I. 3249, Filed 7/1/10);

2. CNO (Revised) [Re: D.I. 3249] (D.I. 3756, Filed 8/3/10):

3. Seventeenth Monthly Application Of Akin For The Period June 1, 2010 Through
June 30, 2010 (D.I. 3760, Filed 8/5/10);

4. CNO [Re: D.I. 3760] (D.1. 3834, Filed 8/27/10);

5. Eighteenth Monthly Application Of Akin For The Period July 1, 2010 Through July
31, 2010 (D.I. 3871, Filed 9/2/10); and

6. CNO [Re: D.L 3871] (DI. 4012, Filed 9/24/10).

Ashurst LLP (“Ashurst”)

B. Sixth Interim Fee Application Request Of Ashurst As European Counsel To The Official
Committee Of Unsecured Creditors For The Period May 1, 2010 Through July 31, 2010
(D.I. 3880, Filed 9/7/10).

1. Sixteenth Monthly Application Of Ashurst For The Period May 1, 2010 Through
May 31, 2010 (D.I. 3235, Filed 6/29/10);

2. CNO [Re: D.I. 3235] (D.I. 3720, Filed 7/22/10);

3. Seventeenth Monthly Application Of Ashurst For The Period June 1, 2010 Through
June 30, 2010 (D.I. 3751, Filed 7/30/10);

4. CNO [Re: DI. 3751] (DL. 3825, Filed 8/25/10);
Case 09-10138-MFW Doc 4042-1 Filed 09/29/10 Page 2of9

5.

6.

Eighteenth Monthly Application Of Ashurst For The Period July 1, 2010 Through
July 31, 2010 (D.I. 3818, Filed 8/24/10); and

CNO [Re: D.I. 3818] (D.I. 3948, Filed 9/15/10).

Capstone Advisory Group, LLC (“Capstone”)

C. Sixth Interim Fee Application Request Of Capstone As Financial Advisor For The Official
Committee Of Unsecured Creditors for the Period May 1, 2010 Through July 31, 2010 (D.1.
3857, Filed 9/1/10).

1.

6.

Sixteenth Monthly Application Of Capstone For The Period May 1, 2010 Through
May 31, 2010 (D.I. 3236, Filed 6/29/10);

CNO [Re: D.L. 3236] (DI. 3717, Filed 7/21/10);

Seventeenth Monthly Application Of Capstone For The Period June 1, 2010 Through
June 30, 2010 (D.L. 3806, Filed 8/20/10);

CNO [Re: D.1. 3806] (D.I. 3933, Filed 9/13/10);

Eighteenth Monthly Application Of Capstone For The Period July 1, 2010 Through
July 31, 2010 (D.I. 3849, Filed 8/31/10); and

CNO [Re: D.I. 3849] (D.I. 3995, Filed 9/22/10).

Chilmark Partners LLC (“Chilmark”)

D. Second Quarterly Fee Application Request Of Chilmark As Consulting Expert For The
Debtors And Debtors-In-Possession, For The Period May 1, 2010 Through July 31, 2010
(D.I. 3862, Filed 9/2/10).

1,

2981307.13
Nortel - Exhibit A

Third Monthly Fee Application Of Chilmark For The Period Of May 1, 2010
Through May 31, 2010 (D.I. 3193, Filed 6/18/10);

CNO [Re: D.I. 3193] (D.I. 3579, Filed 7/12/10);

Fourth Monthly Fee Application Of Chilmark For The Period Of June 1, 2010
Through June 30, 2010 (D.I. 3737, Filed 7/26/10);

CNO [Re: D.I. 3737] (D.I. 3802, Filed 8/18/10);

Fifth Monthly Fee Application Of Chilmark For The Period Of July 1, 2010 Through
July 31, 2010 (D.I. 3836, Filed 8/27/10); and

CNO [Re: D.1. 3836] (D.I. 3985, Filed 9/21/10).
Case 09-10138-MFW Doc 4042-1 Filed 09/29/10 Page 3of9

Cleary Gottlieb Steen & Hamilton LLP (“Cleary”)

E. Sixth Quarterly Fee Application Request Of Cleary As Attorneys For Debtors And Debtors-
In-Possession, For The Period May 1, 2010 Through July 31, 2010 (D.1. 3892, Filed 9/8/10).

1,

6.

Seventeenth Interim Fee Application Of Cleary For The Period Of May 1, 2010
Through May 31, 2010 (D.I. 3752, Filed 7/30/10);

CNO [Re: D.I. 3752] (D.1. 3816, Filed 8/23/10);

Eighteenth Interim Fee Application Of Cleary For The Period Of June 1, 2010
Through June 30, 2010 (D.I. 3807, Filed 8/20/10);

CNO [Re: D.I. 3807] (D.I. 3927, Filed 9/13/10);

Nineteenth Interim Fee Application Of Cleary For The Period of July 1, 2010
Through July 31, 2010 (D.I. 3884, Filed 9/7/10); and

CNO [Re: D.I. 3884] (TBD).

Crowell & Moring LLP (“Crowell”)

F, Sixth Quarterly Fee Application Request Of Crowell Special Counsel For Debtors And
Debtors-In-Possession, For The Period May 1, 2010 Through July 31, 2010 (D.I. 3914, Filed
9/10/10).

1.

2981307.13
Nortel - Exhibit A

Seventeenth Interim Fee Application Of Crowell For The Period Of May 1, 2010
Through May 31, 2010 (D.I. 3911, Filed 9/10/10);

CNO [Re: D.I. 3911] (TBD);

Eighteenth Interim Fee Application Of Crowell For The Period Of June 1, 2010
Through June 30, 2010 (D.I. 3912, Filed 9/10/10);

CNO [Re: D.I. 3912] (TBD);

Nineteenth Interim Fee Application Of Crowell For The Period Of July 1, 2010
Through July 31, 2010 (D.I. 3913, Filed 9/10/10); and

CNO [Re: DL. 3913] (TBD).
Case 09-10138-MFW Doc 4042-1 Filed 09/29/10 Page4of9

Ernst & Young LLP (“E&Y”)

G. Sixth Quarterly Fee Application Of E&Y As Indirect Tax Services Provider To The Debtors-
In-Possession For The Period Of May 1, 2010 Through July 31, 2010 (D.I. 3907, Filed
9/9/10).

1. Eighth Consolidated Fee Application Of E&Y For The Period Of May 1, 2010
Through July 31, 2010 (D.I. 3906, Filed 9/9/10); and

2. CNO [Re: D.I. 3906] (TBD).

Fraser Milner Casgrain LLP (“Fraser”)

H. Sixth Interim Fee Application Request Of Fraser Canadian Counsel For The Official
Committee Of Unsecured Creditors For The Period May 1, 2010 Through July 31, 2010
(D.I. 3887, Filed 9/8/10).

1. Sixteenth Interim Application Of Fraser For The Period May 1, 2010 Through May
31, 2010 (D.I. 3719, Filed 7/22/10);

2. CNO [Re: D.L. 3719] (D1. 3786, Filed 8/16/10);

3. Seventeenth Interim Application Of Fraser For The Period June 1, 2010 Through
June 30, 2010 (D.I. 3770, Filed 8/10/10);

4. CNO [Re: D.I. 3770] (DI. 3870, Filed 9/2/10):

5. Eighteenth Interim Application Of Fraser For The Period July 1, 2010 Through July
31, 2010 (D.I. 3882, Filed 9/7/10); and

6. CNO [Re: D.I. 3882] (TBD).

Huron Consulting Group (“Huron”)

I. Sixth Quarterly Application Of Huron, As Accounting And Restructuring Consultants For
Debtors And Debtors-In-Possession, For Compensation And Reimbursement Of Expenses
For The Period May 1, 2010 Through July 31, 2010 (D.L. 3820, Filed 8/24/10).

1. Sixteenth Interim Fee Application Of Huron For The Period May 1, 2010 Through May
31, 2010 (D.I. 3192, Filed 6/18/10);

2. CNO [Re: D.I. 3192] (D.I. 3578, Filed 7/12/10);
3. Seventeenth Interim Fee Application Of Huron For The Period June 1, 2010 Through
June 30, 2010 (D.I. 3718, Filed 7/21/10);

2981307.13
Nortel - Exhibit A
Case 09-10138-MFW Doc 4042-1 Filed 09/29/10 Page 5of9

6.

CNO [Re: Dl. 3718] (D.1. 3777, Filed 8/12/10);

Eighteenth Interim Fee Application Of Huron For The Period July 1, 2010 Through
July 31, 2010 (D.I. 3805, Filed 8/19/10); and

CNO [Re: D.I. 3805] (D.I. 3921, Filed 9/10/10).

Jackson Lewis LLP (“Jackson’’)

J. Sixth Quarterly Application Of Jackson As Counsel For Debtors And Debtors-In-Possession,
For Compensation And Reimbursement Of Expenses For The Period May 1, 2010 Through
July 31, 2010 (D.1. 3891, Filed 9/8/10).

1.

6.

Seventeenth Monthly Fee Application Of Jackson For The Period May 1, 2010
Through May 31, 2010 (D.I. 3813, Filed 8/20/10);

CNO [Re: D.I. 3813] (D.L. 3928, Filed 9/13/10);

Eighteenth Monthly Fee Application Of Jackson For The Period June 1, 2010
Through June 30, 2010 (D.1. 3869, Filed 9/2/10);

CNO [Re: D.I. 3869] (TBD);

Nineteenth Monthly Fee Application Of Jackson For The Period July 1, 2010
Through July 31, 2010 (D.I. 3883, Filed 9/7/10); and

CNO [Re: D.L. 3883] (TBD).

Jeffries & Company, Inc (“J&C’”)

K. Sixth Interim Application Of Jeffries As Investment Banker To The Official Committee Of
Unsecured Creditors, For Compensation And Reimbursement Of Expenses For The Period
May 1, 2010 Through July 31, 2010 (DI. 3897, Filed 9/9/10).

1.

2981307.13
Nortel - Exhibit A

Sixteenth Monthly Fee Application Of J&C For The Period May 1, 2010 Through
May 31, 2010 (D.I. 3278, Filed 7/6/10);

CNO [Re: D.I. 3278] (DI. 3736, Filed 7/26/10);

Seventeenth Monthly Fee Application Of J&C For The Period June 1, 2010 Through
June 30, 2010 (D.I. 3888, Filed 9/8/10);

CNO [Re: D.I. 3888] (TBD);

Eighteenth Monthly Fee Application Of J&C For The Period July 1, 2010 Through
July 31, 2010 (D.I. 3889, Filed 9/8/10); and
Case 09-10138-MFW Doc 4042-1 Filed 09/29/10 Page 6of9

6.

CNO [Re: D.I. 3889] (TBD).

John Ray (“Ray”)

L. Third Quarterly Fee Application Of John Ray, As Principal Officer Of Nortel Networks, Inc.
And Its Affiliates, For The Period May 1, 2010 through July 31, 2010 (D.I. 3859, Filed
9/1/10).

1.

6.

Fifth Monthly Fee Application Of Ray For The Period May 1, 2010 Through May 31,
2010 (D.I. 3154, Filed 6/7 /10);

CNO [Re: D1. 3154] (DI. 3242 Filed 6/30/10);

Sixth Monthly Fee Application Of Ray For The Period June 1, 2010 Through June
30, 2010 (D.I. 3581, Filed 7/12/10);

CNO [Re: D.I. 3581] (D.L. 3758, Filed 8/4/10);

Seventh Monthly Fee Application Of Ray For The Period July 1, 2010 Through July
31, 2010 (D.I. 3763, Filed 8/6/10); and

CNO [Re: D.I. 3763] (D.I. 3850, Filed 8/31/10).

Lazard Freres & Co. LLC (“Lazard”)

M. Sixth Quarterly Fee Application Of Lazard Freres & Co. LLC Financial Advisor And
Investment Banker To The Debtors And Debtors-In-Possession For Allowance Of
Compensation And Reimbursement Of Expenses For The Period May 1, 2010 Through July
31, 2010 (D.L. 3920, Filed 9/10/10).

1.

298 1307.13
Nortel - Exhibit A

Fourteenth Monthly Fee Application Of Lazard For The Period May 1, 2010 Through
May 31, 2010 (D.I. 3917, Filed 9/10/10);

CNO [Re: D.I. 3917] (TBD);

Fifteenth Monthly Fee Application Of Lazard For The Period June 1, 2010 Through
June 30, 2010 (D.I. 3918, Filed 9/10/10);

CNO [Re: D.I. 3918] (TBD);

Sixteenth Monthly Fee Application Of Lazard For The Period July 1, 2010 Through
July 31, 2010 (D.I. 3919, Filed 9/10/10); and

CNO [Re: D.I. 3919] (TBD).
Case 09-10138-MFW Doc 4042-1 Filed 09/29/10 Page 7 of9

Linklaters LLP (“Linklaters”)

N. Second Quarterly Fee Application Of Linklaters LLP As U.K. Counsel To Debtors And
Debtors-In-Possession For Allowance Of Compensation And Reimbursement Of Expenses
For The Period May 1, 2010 Through July 31, 2010 (D.1. 3916, Filed 9/10/10).

1. Third Monthly Fee Application Of Linklaters For The Period May 1, 2010 Through
July 31, 2010 (D.I. 3915, Filed 9/10/10); and

2. CNO [Re: D.L. 3915] (TBD).

Morris, Nichols, Arsht & Tunnell LLP (““MNAT”)

O. Sixth Quarterly Fee Application Request Of Morris, Nichols, Arsht & Tunnell LLP,
Bankruptcy Counsel For Debtors And Debtors-In-Possession For The Period May 1, 2010
Through July 31, 2010 (D.I. 3837, Filed 8/27/10).

1. Seventeenth Interim Application Of MNAT For The Period May 1, 2010 Through
May 31, 2010 (D.I. 3243, Filed 6/30/10);

2. CNO [Re: D.I. 3243] (D.I. 3723, Filed 7/22/10);

3. Eighteenth Interim Application Of MNAT For The Period June 1, 2010 Through June
30, 2010 (D.I. 3743, Filed 7/28/10);

4. CNO [Re: D.1..3743] (D.L. 3811, Filed 8/20/10);

5. Nineteenth Interim Application Of MNAT For The Period July 1, 2010 Through July
31, 2010 (D.I. 3815, Filed 8/23/10); and

6. CNO [Re: D.1. 3815] (DI. 3958, Filed 9/16/10).

Punter Southall LLC (“Punter“)

P, Fifth Quarterly Fee Application Request Of Punter Southall LLC, Pension Co-Advisor To
The Debtors For Allowance Of Compensation And Reimbursement Of Expenses For The
Period May 1, 2010 Through July 31, 2010 (D.I. 3903, Filed 9/9/10).

1. Seventh Monthly Application Of Punter For The Period May 1, 2010 Through July
31, 2010 (D.I. 3895, Filed 9/9/10); and

2. CNO [Re: D.L. 3895] (TBD).

2981307.13
Nortel - Exhibit A
Case 09-10138-MFW Doc 4042-1 Filed 09/29/10 Page 8of9

RLKS Executive Solutions, LLC (“RLKS”)

Q. First Quarterly Fee Application Request Of RLKS, As Consultants To The Debtors And
Debtors-In-Possession, For The Period July 9, 2010 Through July 31, 2010 (D.I. 3905, Filed
9/9/10).

1. First Monthly Application Of RLKS, As Consultants To The Debtors And Debtors-
In-Possession For The Period July 9, 2010 Through July 31, 2010 (D.I. 3904, Filed
9/9/10); and

2. CNO [Re: D.I. 3904] (TBD).

Richards, Layton & Finger, PA (“Richards Layton“)

R. Sixth Interim Fee Application Request Of Richards, Layton & Finger, PA As Co-Counsel To
The Official Committee Of Unsecured Creditors For The Period From May 1, 2010 Through
July 31, 2010 (D.I. 3881, Filed 9/7/10).

1. Sixteenth Interim Application Of Richards Layton For The Period May 1, 2010
Through May 31, 2010 (D.I. 3226, Filed 6/24/10);

2. CNO [Re: D.L. 3226] (D1. 3670, Filed 7/16/10);

3. Seventeenth Interim Application Of Richards Layton For The Period June 1, 2010
Through June 30, 2010 (D.I. 3745, Filed 7/29/10);

4.  CNO [Re: D.I. 3745] (DL. 3810, Filed 8/20/10);

5. Eighteenth Interim Application Of Richards Layton For The Period July 1, 2010
Through July 31, 2010 (D.I. 3826, Filed 8/25/10); and

6. CNO [Re: D.I. 3826] (D.I. 3957, Filed 9/16/10).

Shearman & Sterling, LLP

S. Sixth Quarterly Fee Application Of Shearman & Sterling, LLP, As Non-Ordinary Course
Professional Special Litigation Counsel To Debtors And Debtors-In-Possession, For The
Period May 1, 2010 Through July 31, 2010 (D.I. 3900, Filed 9/9/10).

1. Sixth Interim Application Of Shearman & Sterling, LLP For The Period May 1, 2010
Through July 31, 2010 (D.I. 3899, Filed 9/9/10); and

2. CNO [Re: D.L. 3899] (TBD).

2981307.13
Nortel - Exhibit A
Case 09-10138-MFW Doc 4042-1 Filed 09/29/10 Page9of9

True Partners Consulting LLC (“True Partners’’)

T. Third Quarterly Fee Application Request Of True Partners Consulting LLC, As Tax Service
Provider To The Debtors-In-Possession For The Period Of May 1, 2010 Through July 31,
2010 (D.I. 3828, Filed 8/25/10).

1. Third Interim Application Of True Partners For The Period May 1, 2010 Through
July 31, 2010 (D.L. 3821, Filed 8/24/10); and

2. CNO [Re: D.I. 3821] (D.I. 3959, Filed 9/16/10).

298 1307.13
Nortel - Exhibit A
